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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEAT'I`LE

HANK ISRAEL, individually and On behalf of)

all similarly situated individuals, Case No: 2:16-cv~00687

Plaifltiff, CLASS ACTION COMPLAINT

V.

dfbfa DIAMOND AIRPORT PARKING, a
Washington Corporation and DIAMOND
PARKING SERVICES, LLC dfb;‘a
DIAMOND AIRPORT PARKING, a
Washington limited liability company;

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DIAMOND PARKING SERVICES INC. §
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Defendants. §

 

 

COMES NOW hidiviclual and representative Plaintiff HANK ISRAEL (“Plaintiff”), on
behalf of himself and all others similarly situated, complains of Defendants DIAMOND
PARKING INC. dfbfa DIAMOND ALRPORT PARKING (among other business names) and
DIAMOND PARKING SERVICES, LLC dfbfa DIAMOND AIRPORT PARKING (among other

business names) (collectively “Def`endants”) as follows:

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JURISDICTION AND VENUE

l. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 15
U.S.C. § 1681p.

2. Venue in this judicial district is proper under 28 U.S.C. § l391(b) and (c) and
(d) in that this is the judicial district Where both Defenclants reside. Defendant DIAMOND
PARKING SERVICES INC. dfb/a DIAMOND AIRPORT PARKING (arnong other names) is
a Washington corporation with a principal place of business in Seattle, Washington. DIAMOND
PARKING SERVICES, LLC dfb/a DIAMOND AIRPORT PARKING (among other names) is
a Washington limited liability company with a principal place of business in Seattle, Washington.

PARTIES

3. PlaintiffHANK ISRAEL is and at all times relevant hereto Was a resident of Salt
Lake County, Utah.

4. Defendant DlAMOND PARKING SERVICES INC. dfb!a DlAMOND
AIRPORT PARKING (among other names) is a Washington corporation With a principal place
of business in Seattle, Washington. Among other businesses, it operates airport parking lots
within the states of Alaska, Utah and Washington.

5. Defendant DIAMOND PARKING SERVICES, LLC dfbfa DIAMOND
AIRPOR'I` PARKING (among other names) is a Washington limited liability company with a
principal place of business in Seattle, Washington. Among other businesses, it operates airport
parking lots within the states of Alaska, Utah and Washington.

FACTUAL BASIS
6. In 2003, Congress passed and the President signed, the Fair and Accurate Credit

Transactions Act (“FACTA”) to assist in the prevention of identity theft and credit and debit card

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fraud. ln the statement provided by the President during the signing of the bill, the President
declared that:

“This bill also confronts the problem of identity theft. A growing number

of Arnericans are victimized by criminals who assume their identities and

cause havoc in their financial affairs. With this Iegislation, the Federal

Govemment is protecting our citizens by taking the offensive against

identity theft.”

7. A main provision of FACTA (codified as 15 U.S.C. § I6810(g) of the Fair Credit
Reporting Act) provides that:

“Except as provided in this subsection, no person that accepts credit cards

or debit cards for the transaction of business shall print more than the last

five digits of the card number or the expiration date upon any receipt

provided to the cardholder at the point of sale or transaction.” (Ernphasis

added.)

8. FACTA was signed into law on Decernber 4, 2003, but did not become fully
effective until December 4, 2006. Despite this three year window provided to merchants in order
to bring their point of sale machines into compliance with FACTA, many merchants did not
become compliant and faced liability. In response, the Credit and Debit Card Receipt
Clarification Act of 2002 (the “Clarification Act”) was enacted to provide additional time for
merchants to become compliant. The Clarification Act does not actually “clarify” anything; it
merely delayed liability for violations. In accordance with the Clarification Act, beginning June
4, 200 8, a merchant that prints more than the last five digits of the credit or debit card number or
a creditor debit card’s expiration date on an electronically generated receipt given to a customer
is in violation ofFACTA. See 15 U.S.C. 1681n(d).

9. On April 13, 2016, Plaintif`f used his American Express card to pay for parking
at Diamond Airport Parking, located in Salt Lake City, Utah. The hardcopy receipt generated

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and provided to him by Defendants contained the expiration date of his card in violation of 15
U.S.C. § 1681c(g). A redacted version of the non-compliant receipt that he received on April
13, 2016 is attached hereto as Exhibit A. The last four digits of Plaintiff"s card and the expiration
date have been redacted.

10. Plaintit`f is informed and believes, and based thereon alleges, that since at least
2014, if not earlier, through at least April 13, 2016, Defendants have provided non-compliant
receipts through point of sale machines that were provided to customers at the point of sale.

11. Despite having more than 12 years to become compliant with FACTA,
Defendants have willfully violated this law and failed to protect Plaintiff and others similarly
situated against identity theft and credit card and debit card fraud by printing the expiration date
on hardcopy receipts provided to debit card and credit card cardholders transacting business with
Defendants.

12. Plaintif`f, on behalf of himself and all others similarly situated, brings this action
against Defendants based on Defendants’ violation of 15 U.S.C. §§ 1681 et seq.

13, Plaintiff seeks, on behalf of himself and the Class, statutory damages, punitive
damages, costs and attomeys’ fees, all of which are expressly made available by statute, 15
U.S.C. §§ 1681 etseq.

CLASS ACTION ALLEGATIONS

14. Plaintif`f brings this class action on behalf of himself and all others similarly
situated pursuant to Rules 23(a) and 23(b)(1)-23(b)(3) of the Federal Rules of Civil Procedure.
In the remainder of the complaint, Plaintiff refers to the proposed Class defined below in
paragraphs 15 as “the Class.”

15. Definition of Proposed Class: Plaintiff seeks to represent a Class of persons to
be defined as follows:

All persons in the United States to whom, on or after May 12,
2014, Defendants provided an electronically printed hardcopy

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receipt at the point of a sale or transaction on which Defendants
printed the expiration date of the person’s credit or debit card.
16. Numerosity: The Class described in paragraph 15 is so numerous that joinder of
all individual members in one action would be impracticable The disposition of the individual

claims of the respective Class members through this class action will benefit both the parties and

this Court.
17. Plaintiff is informed and believes, and thereon alleges, that there are, at
minimum, hundreds of members of the proposed Class described in paragraph 15.

18. The exact size of the Class and the identities of the individual members thereof
are ascertainable through Defendants’ records, including but not limited to Defendants’ sales and
transaction records.

19. Adec|uacv of Representation: Plaintiff is an adequate representative of the Class

 

because his interests do not conflict with the interests of the Class which Plaintiff seeks to
represent Plaintiff will fairly, adequately and vigorously represent and protect the interests of
the Class members and has no interests antagonistic to the members of the Class. Plaintiff has
retained counsel who arc competent and experienced in the prosecution of class action litigation.

20. Common Ouestions of Law and Fact: Plaintiff and Class members were each

 

customers of Defendants, each having made a purchase or transacted other business with
Defendants on or after the start of the applicable liability period, using a credit card andfor debit
card and to whom, at the point of such sale or transaction, Defendants provided a hardcopy
receipt showing the expiration date in violation of 15 U.S.C. § 1681c(g).

21. There is a well-defined community of interest and common questions of fact and
law affecting the Class members.

22. The questions of fact and law common to the Class predominate over questions

which may affect individual members and include the following:

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(a) Whether Defendants’ conduct of providing Plaintiff and the Class
members with a sales or transaction hardcopy receipt whereon Defendants printed the
expiration date of the credit or debit card violated FACTA, 15 U.S.C. §§ 1681 et seq.;

(b) Whether Defendants’ conduct was willful; and

(c) Whether Plaintiff and Class members are entitled to statutory damages,
punitive damages, costs and/ or attorneys’ fees for Defendants’ acts and conduct.

23. Typicality: Plaintiff’s claims are typical of the claims of the proposed Class.
The claims of Plaintiff and the Class are based on the same legal theories and arise from the same
unlawful and willful conduct.

24. Nature of the Notice: Class members may be notified of the pendency of this
action by techniques and forms commonly used in class actions, such as by published notice, c-
rnail notice, website notice, first class mail, or combinations thereof, or by other methods suitable
to this Class and deemed necessary andfor appropriate by the Court.

25. Superiority: A class action is superior to other available means for the fair and
efficient adjudication of the claims of the Class. While the aggregate damages which may be
awarded to the members of the Class are likely to be substantial, the damages suffered by
individual members of the Class are relatively small. As a result, the expense and burden of
individual litigation makes it economically infeasible and procedurally impracticable for each
member of the Class to individually seek redress for the wrongs done to them. Plaintiff does not
know of any other litigation concerning this controversy already commenced by or against any
member of the Class. The likelihood of the individual members of the Class prosecuting separate
claims is remote. Individualized litigation also would present the potential for varying,
inconsistent or contradictory judgments, and would increase the delay and expense to all parties
and the court system resulting from multiple trials of the same factual issues. In contrast, the
conduct of this matter as a class action presents fewer management difficulties, conserves the
resources of the parties and the court system, and would protect the rights of each member of the

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Class. Plaintiff knows of no difficulty to be encountered in the management of this action that
would preclude its maintenance as a class action.
FIR_ST CAUSE OF ACTION
(Violation of 15 U.S.C. §§ 1681 et seq.)
26. Plaintiff hereby incorporates by reference the allegations contained in the above

paragraphs of this Complaint as if hilly set forth herein.

27. Plaintiff asserts this claim on behalf of himself and the proposed Class against
Defendants.

28. Title 15 U.S.C. § 16810(g)(1) provides that:

“ . . . no person that accepts credit cards or debit cards for the transaction

of business shall print more than the last five digits of the card number g

the expiration date upon any receipt provided to the cardholder at the point

of sale or transaction.” (Ernphasis added.)

29. Defendants transact business in the United States and accept credit cards and!or

debit cards in the course of transacting business with persons such as Plaintiff and the members
of the proposed Class. In transacting such business, Defendants use cash registers and!or other
machines or devices that electronically print hardcopy receipts for credit card andfor debit card
transactions

30. On or after May 12, 2014, Defendants, at the point of sale or transaction with
Plaintiff, provided Plaintiff with an electronically printed hardcopy receipt on which Defendants
printed the expiration date of Plaintiff`s credit card.

31. On or after May 12, 2014, Defendants, at the point of sale or transaction with
Class members, provided, through the use of a machine, each member of the proposed Class
with one or more electronically printed hardcopy receipts on each of which Defendants printed
the expiration date of the respective Class member’s credit or debit card. As set forth above,
FACTA was enacted in 2003 and originally gave merchants who accept credit card andf'or debit

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cards up to three years to comply with its requirements, requiring compliance for all machines
no later than December 4, 2006. This was then extended until June 4, 2008 through the
Clarification Act. Defendant has thus had more than 12 years to comply with the requirements
of FACTA.

32. Defendants knew of, or should have known of, and were informed about the law,
inciuding specifically FACTA’s requirements concerning the prohibition on printing of the
expiration dates of debit cards and credit cards. For example, but without limitation, several
years ago, on information and belief, VISA, MasterCard, the PCI Security Standards Council (a
consortium founded by VISA, MasterCard, Discovery, American Express and JCB), companies
that sell cash registers and other devices for the processing of credit or debit card payments, law
firms, and other entities informed Defendants about FACTA, including its specific requirements
concerning the prohibition on the printing of expiration dates, and Defendants’ need to comply
with sarne.

33. Despite knowing and being repeatedly informed about FACTA and the
importance of preventing the printing of expiration dates on credit and debit card receipts, and
despite having years to comply with FACTA’s requirements, Defendants willfully violated
FACTA’s requirements by, inter alia, printing the expiration date upon the hardcopy receipts
provided to members of the proposed Class - persons with whom Defendants transact business.

34. Many of Defendants’ business peers and competitors readily brought their credit
and debit card receipt printing processes into compliance with FACTA by, for example,
programming their card machines and devices to prevent them from printing the expiration date
upon the receipts provided to the cardholders. Defendants could have readily done the same.

35. ln contrast, Defendants willfully disregarded FAC'I`A’s requirements and, at
least through April 13, 2016, used cash registers or other machines or devices that printed

receipts in violation of FACTA.

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36. Defendants willldlly violated FACTA in conscious disregard of the rights of
Plaintiff and the members of the Class thereby exposing Plaintiff and the members of the
proposed Class to an increased risk of identity theft and credit andf or debit card fraud.
37. As a result of Defendants’ willful violations of FACTA, Defendants are liable to
Plaintiff and each Class member the statutory damage amount of “not less than $100 and not
more than $1000” for each violation. 15 U.S.C. § 1681n(a)(1)(A).
38. As a result of Defendants’ willful violations of FACTA, Plaintiff and the
members of the Class are entitled to recover costs of suit and their reasonable attorneys’ fees.
15 U.S.C. l681n(a)(3).
39. As a result of Defendants’ willful violations of FACTA, Plaintiff and the
members of the Class are entitled to punitive damages. 15 U.S.C. § 1681n(a)(2).
JURY DEMAND
Plaintiff, on behalf of himself and the putative members of the proposed Class,
demands a trial by jury on all claims and causes of action to which they are entitled to a jury
trial.
CLAIMS FOR RELIEF
WHEREFORE, Plaintiff, on behalf of himself and the members of the proposed Classes,
prays for:
1. An order certifying the Class and appointing Plaintiff as the representative of the
Class, and appointing the law firms representing Plaintiff as counsel for the
Class;
2. An award to Plaintiff and the members of the Class of statutory damages
pursuant to 15 U.S.C. § l681n(a)(1)(A) for Defendants’ willful violations;
3. An award to Plaintiff and the members of the Class of punitive damages pursuant

to 15 U.S.C. § 168ln(a)(2);

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4. Payment of costs of suit herein incurred pursuant to, inter affa, 15 U.S.C. §
l681n(a)(3);
5. Payment of reasonable attorneys’ fees pursuant to, inter afia, 15 U.S.C. §

1681n(a)(3); and

6. For other and further relieve as the Court may deem proper.

DATED this 13‘h day of May, 2016_

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EXHIBIT A

